                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 1 of 40



                                                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Necklaces Preppy Jewelry Cute Necklaces For Women Teen Girls Happy Face Necklace, 14K Gold Plated Dainty Necklace, Stainless Steel Paperclip Necklace Gold Link Chain Necklace (White): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09D9GWRNR

   Collection Date
   Wed, 10 May 2023 07:27:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   V99VxdLTFgDtP4D61Q6/a9/y5WmlZ99DcWPnx+9acG7XO+cmi/c8Rjl8Z+tR3FnboBSMtcDQ/ZYpfbnOSRGVJQJrRfBx9mzV9iMYuE0l51xsdlqejL48TRL+a4X9Y145kAWAgKZFZU4yXjzM/8qehKduFPJeNl4GZP7hYfefgpVmUKSTcH/TDfiH3TbWg5Q1ku8YZyPPe/IXxPx+d5XumU6/
   SIZ7J196aSPcKZzdOIi7I4ule5y9xFJTEcPP3eW1NPoC1czbizOSy8YnpgSRn+q/rsyN2wSN0457CFty5Q3yavRiY8hToPeA2VHV/faM0/mF7gOM2lUGhKcrcjdm+Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09D9GWRNR]]_Wed,-10-May-2023-07-27-32-GMT.mhtml

   Hash (SHA256)
   53756362e1f5c800ff7f897883e8a3a4b35c3c781a2bcec07a4204eaea4cbd86

   Signature (PKCS#1v1.5)
Ev9aye+tj4Y6/exzBXxWUihTwBBbYOigqBBADgTXEcJr2pX21doXQAG9TDc2CUy3t4TI799hctNCrA9fkTvFZWxQihT6P/95mbP3La9Q5xo4XG03VLc8S9jd56L9Rn0MOVBHZ1m9srx6WT42cZpbauGtUcZ7M0ndOsE6aFs4cyU5SrHnwzppoDYIrb1pt7jJmMkXELVLPiQSErOw6z+8LAbjkb7rkurK6/
fPS6QEtweV2WePD9t7Pw6wL9xqUP2RK0QEo2hrT5u1qlNnxPaLBowg1OwcUxCmtYCyLlaEjXPQJYbwcBSkbPb41P7wCPpQwVIlWkeGpZT147rtUrqKUA==
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                       Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 11:50:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ki6BizfJCtB7Yn9z+EwyYlziJzQ8zESAjgB5Jnth+bD96nHDVk768G+dfaPTJbyPMkkMZM9lkl5CO88SEtYIcl/Xbq6anrr2N7xEzah9gCxMTDhGu4LimCbxMxvU7LD6CBxYMx/LrhbptN9/f28hcyexdK3q5qiNu/qXiRJm+vHe
   +IKa7PdLFZiFcz84+gx4SzQK4ChMdSluSeXRiDlWI1m1s3Ns7BvrEGnATC3os+h7F1P0C7ma07+jhl13r9/KPcmwsWFVhRS6WbuaCwEtMqbClgxHb3F+E2SddEw9ZOAW06ltwwH+ofUtxJLU+13JBb8Eo7eN2zSmCAvTyA6F3g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-11-50-45-GMT.mhtml

   Hash (SHA256)
   2d1790efe12b5a92eaead986f23265d274bed0dc62d2aab65ae6c85c3217f52c

   Signature (PKCS#1v1.5)
v38QX2HC+m431REjf2eXej/d3VBN2M2rkKWYX+xDHmf7WCCSb/znp3PDrXEfoOW2Mrv3AI6Uu2l9uLgNPs6hDQSrMHLEl+yT2lEWxZy0cZgaypen5lvdtc5RG31tou0jjtX8wMgpA/rr3RJPWr2eK2tF05F3pe2tg2uHLL7/EK08zB0n8WmD
+QvSSYoGCaAMsDyhhBuJRZXSh21amZGBK9vO7Ewsrypamarvu1j+3zjyqzcswxsDhnnNy0TmA9uIFwfsMg2geBtc3Y/4q5wZLd/1t+TZ/hFCOH34tDrw7JrMiHqzLdT93RXC+v+Q2hOVNOzS10TO+6fLkSlJlLqQlQ==
                                                                                  Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com : 1000Pcs Smiley Stickers.Happy Face Stickers.1 Inch Teacher Supplies for Classroom, Motivational Stickers, Classwork Award Stickers,Gift Stickers(Cookie Cartoon Design) : Office Products

   URL
   https://www.amazon.com/Stickers-Happy-Stickers-1-Classroom-Motivational-Classwork/dp/B0BFN4S6VL/ref=sr_1_173

   Collection Date
   Thu, 20 Apr 2023 10:54:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D+7E+68VIgnSsYIJS8huteGQMtAfGXeGWb6cDFa5d3kfI0nl5Q16j2ewroR+n4xlvzpi2hv7461P92xCnAJiBl5g/ZfqcYicxHHop+tnkkxwTtXdHJVMRfkciGehsAx/9J2ETrWr9ozSeHB+jGXMlmMdc2Re+Jrv0iIqVsFcBTE=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Happy-Stickers-1-Classroom-Motivational-Classwork[fs]dp[fs]B0BFN4S6VL[fs]ref=sr_1_173]]_Thu,-20-Apr-2023-10-54-57-GMT.pdf

   Hash (SHA256)
   8ab069297756c5ebf5b9e39d68c9c339b842516e4988ee172b3afd89e73fd915

   Signature (PKCS#1v1.5)
jSHy7p25tqyDsn9HasMrXlpWpyMrEGA3eTXD4dQPuMxPG50Uc1+b3oEF4BYhpNOfbH98BSmRaCDjr6GxC8I6IU1CAc176OehelpnatiTtZMw/OS0eEzeMneU4I7LfZVqag9khlP1l6Fjbl040ejV5RsZZW3DbQ9gaYb7c90D1SA=
                                                                                  Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 09:34:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PPzIfDTv/0ZKutfz/R/3nWe16CQy+lhKX4mLQPoTbyjY68tfSDb+TsWLLWn+WPgD9q2d/Ff5P2/ER1VmMLtXY7hMsOoXk6LF0JlDfUNJhkWOXG29upGXSZJBUKnDNUiP+4McD2y/XVFBl2Bjbakabz3Jhc3SH1ha+ZX0gFE1Th+HW3xTIrofFaLAJt7zpsI+uzQbuT0kyTaGLxBoPe0repheHK+
   +JwX73xY6dFjYDTvtNSO/iF8I/H+oSq67ehNhP9tRBhYKe8i2qo6wAm1kIFDSnW6OwrCb9CZ32Ffv9DBK6H++xBH3zso2mal8gsX6EHC2PQo45AeIV5hFTdTsqg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-09-34-21-GMT.mhtml

   Hash (SHA256)
   977aa533b0438d0ff7d950327ac9451b44480714dd70057d49dc36fd5987359d

   Signature (PKCS#1v1.5)
EUe0z412yIdWnprmt4zUU2HHEt/1TBqlil6rIn9ORaDf22uKmY0LMrSi+ofhaS6T7NWHgA0TRoH5lWgsC82EOQAfo6YW/o1yqaIKsJOgTNBdJzSnMVTrrsGl7Qak66s+dvATlRnAIAjXQyxcSSHacjTT0+Nhb8/
E9t/0Jqwnj1JtLxxGJ4CJZKR8p3Fr6QWaJf1qS1rT6Ggf85jomxCnWU1GZaXKzEoRJcnw9qQpxCaqcGKcTmP8UBXh7qCjaNJ50whWclt9xyxRMlpP5RbiJ2OcQx6yZGcW71k69GhHnILqr/NN5FmYOQOZQVLo0u6i0fsiFvKGrwjGUi6Mb3MINQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   JAOPINK 6 Pairs Smiley Face Socks Womens, Lovely Smile Face Cotton Socks for Womens, Autumn Winter Thermal Ankle Socks at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/JAOPINK-Smiley-Womens-Lovely-Thermal/dp/B0BB73KCG9/ref=sr_1_108

   Collection Date
   Fri, 21 Apr 2023 08:39:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TdIimN/AbFhCR+ds6mNCzFqwvbO1XhAn9ulSYsU6vM0snBNMZFhGmYT+ASkGR5AfYzDCzJcnoiFSegYZ3zZM5pjjabCbPr48kzWxQt9L2OkY8xNYBA1X4HmpA4BnoepriYc+16EBi+lz7QiHkH9tqxfVSu06b7noAaUNC9TLDE0=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JAOPINK-Smiley-Womens-Lovely-Thermal[fs]dp[fs]B0BB73KCG9[fs]ref=sr_1_108]]_Fri,-21-Apr-2023-08-39-20-GMT.pdf

   Hash (SHA256)
   2de93affad3e955c83e1278cde9dcdd182af5b41a67da9bdd6c50d47d937c16a

   Signature (PKCS#1v1.5)
Ihxi8nuKmPBBN5SQ4Jdc7GwBsw5SgeW/kGEVvqOphMCZGklcPO3hk7TrUb9Cz2dudSX2SN4FQGBPv6Xt8W/Nduyx0nhTHl5OYi3CpH3LeWH7rXlTmYxEv/9saEfUG4jAYbKsLIogfbcx0eiUWG4QJWUDZdB2Hga2+XbtUGwsujQ=
                                                                                 Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 10:01:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iE9YaCfCKPpL/X+KZHidGN8P6ka4MNNQgP5leHBTu7FzsJZSeXL49CNIgx1WAT1wPZymJwelSGM7XT9g8Cp7SbrRqHLLvtYFAS+nAiq9862zY3Qmg1bqXTpRSaXZj8eRbha2xBoReo3eVCbBPNoL8oGfq+HwsMxcPSx1LDLVSZjf5Xn505vb9ywTrF
   +hAkjmsLEMmSrkNj5ypCQQCHDzHfXw2pTybB6uQjy7CsUGiW1gUlDHmkfpqBzsfdpdcGS1KLC85H3qlhfgFlZNygzwltDykS4n6N5/AIVqahPxpFFtZfFR06+gGLaocSC5QTFa5iafSH2PXEZfoTvwqzSTfg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-10-01-08-GMT.mhtml

   Hash (SHA256)
   a4312c9276e6d4a8bfcb0b82faac64a630fa189e5ece4a17c060e850f2fb2515

   Signature (PKCS#1v1.5)
Co9EwVNDMoh/J5ox36nOnwd2Mouuf0czH61D4IkBKodaCb2WNVuuo8bf3Ivp/xsbTPS/QVCw3UKINqKUUWVPPye/fgvR5ubxyvzGJarSyPT4+93XKXjeD6aU0tmDBzxN6a829ryxIZ0wAjRoFwshg5FVrO/QiSACWE7l51u3NU
+U8GOpcPWclInXSe6frggNx7IhxZyvkXHXL4dNQpB7VB70HKRUjUDE1Ux5tmIcoEVMASLkTyxTClBWoe0EDDZF691fNLU25TTkrkzwepsWOpHGLn0FPmz8vnbCPXphN5PWcvJegxLMUE783OCdEg0DFYVzbcX0CD//zIgjyG/MVA==
                                                                                 Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Jawhock 100 PCS Colorful Smiley Face Stickers for Kids Waterproof Stickers for Water Bottle Laptop Skateboard Computer Helmet Bike Luggage Motivational Decals for Girls Boys Teens Adults : Toys & Games

   URL
   https://www.amazon.com/Jawhock-Colorful-Waterproof-Skateboard-Motivational/dp/B0BXKCKBSZ/ref=sr_1_19

   Collection Date
   Wed, 14 Jun 2023 08:40:34 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VeLMYF120eRiToY3iy+wvJNy9UpVMMFyNN1KD3Uny4N9rXT62SqOf0piCaezjIUyvmsUdMcdHTZXOtHNbz4A3VPUHUrIpg24ZRUXjrgUhGFea5/hmxfLTfPljlWZV9p609E8KRc/OLS+PPZnWF1Gj2OP16EiXrde7Rf7sBpDcPg=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Jawhock-Colorful-Waterproof-Skateboard-Motivational[fs]dp[fs]B0BXKCKBSZ[fs]ref=sr_1_19]]_Wed,-14-Jun-2023-08-40-34-GMT.pdf

   Hash (SHA256)
   e8610ea8f3f5f589bfa3ab75ff493eebb67a929e90a6ca9b937ff582dca79f02

   Signature (PKCS#1v1.5)
PDF4jnGBBigLORxfF0vjxT92/dUYaFG1SvJ2PFXXC6ka5ziQTBzMBPGUW5lnxgCavGnp26tK12Um+clt4hchOOMfheIEbT8dkcO2f5V5e3wLXBLKQBFVC0D8I01BhjUeWKH1fQYnt6lLMjaFgwt36jxK8MbGpNqqgpUNIJZjw/c=
                                                                                 Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 14:53:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NL6lP2ZOaq0gEjUvC0rlDGwufLAJp9T+aRt8LID/LClwG1PP2wlBCAjd8DiGijfZHkMLvK+mtZB3l2rcFIAU3Sk8NXKXrImr7U6MHAFIoWClEtSODli461I+/lNSN2XezCHzf501NLCeKRTLi7jgpb1nhz7pmg
   +v7Y7FHC4WRHiheoLCeLGncMvNQVsi2ESZy0y1GWZgZEyLu3ZK5lzlsLkKAx9Nw6SORHFkvj6p2e4R4p+Jlw1E+ovwI1RXu2XASe7Sip+cRwiGshNoTc4CsBbyvIwOPBWRLbUeV8tongVfddN1sMOsZrsDxy6+tAZDF6HACuKTvxgT7frXAg5WIg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-14-53-32-GMT.mhtml

   Hash (SHA256)
   83ee5d84c530e5fe8fc207a771778723297ed60b3a1cf2912c1149dbb80c4672

   Signature (PKCS#1v1.5)
TwZ9jHr8sSOGGNQR6BcnQcTLdhW/tOhZKqv30ahjqhwyAmtKyqCnhSwMVDJNnhUVM6XpJxOgjWRSMEorEIZyDnqx+cqVLAU1VpMDt97/JNF4D0t/N9wVDGXeLGdFa+GXOj7TtNNLUumsy4IrOKt/xvn1NdYIUca
+WvhZ8s7QPsFatG89TMMG29d68SdPqsfYvz0PxQyFIXoWLe38XcKcgtndTO31p/S6R7hLo4DaemrJOpEoYxEg3yYye6mnHmXIcxu3SI9EFQrxnpogWONfEFNyBbWxn862/cNSjpuf4vywhZT5OMibmogJw1A+LlhJWLDMQggjjezFs9UDkMQFlQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                                                Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 09:39:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HNjzHdOB7/g0dL+w1K3YjrRkMcWuHPslsBxd7AMCATcO80FBLRPHNCaP7VY5QDAk1NDouc/Wwvbkv46OMPvPfazPAvIHwT0FepOeMDwnArDUmPr8O1VC3dPdZsKMFlRFAO+F5eTvZLVEUIt+OTFYe8NDyy+1OuJHWisjIdh3na7pdbl/x4ReIQvSGNhirjgHuBIFip+u2j0hgPk+/Sp
   +6x9ic7Y79CzOgxOdrme+q+q2lI4PD+wG1j5TtM6FVhGhUHDYHsN54HJlFmSSZz3r8i5r1tcA/wHXB45sUdwAsZCtZUGizZjwOM6zZC6FlxsVRy55pQICvuEZQ0N2fghfSQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-09-39-18-GMT.mhtml

   Hash (SHA256)
   dcbdd31ee148faec01fd9d7b1d089587626116ec467efddaef047d55f25f859e

   Signature (PKCS#1v1.5)
H4QAw5dr30Z6StBfffakvfVSWEyYVwZY+ejWnRH1L5Z/sEIlYO4OAdrWfaEnPVdooXaV0K1wv+Gy1bhk4GC9OIjZBE1CQXimE2n6qKeO6AMYHko55Vpv++8JhUUOisiHZiQi6Hu7Dqvzbn4aIixKVpb/FsaBdDrdwjaFTrx+OglCkdVxc7h5CTSGk+412eCN0OWiw8EVjvx3okuBGdyA6+p
+MPsTQseLruTmu1eBAihZQ83NJrcsSKMzTCAo1OIpMd9FtDZL3WC6DPNB9kbDu8RSRm7iotUkPCysQ332E4EN1Hcx5kbMjjAlOdjMdntvbglqCIoTmN4ZZLIoZNdUKQ==
                                                                              Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com: YQZIYOU 6 PCS Smiley Face Necklaces for Women - Happy Face Charms Choker for Women, Y Necklaces for Women, Fashion Pendant Necklace Jewelry, Gifts for Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09L7293WV

   Collection Date
   Wed, 10 May 2023 05:55:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Sdk/G9gTx9HFWor6eNmJNHCOF5tFMlHpxhA9lHNL2FEOqvM4JuNttRAVsIva68IF4CQg/xGW/MNHosBWeevvgWHHV+9IZn/uFvHoRWSeloXD4ibmSpj/
   uKiF1wOG8VVdmJXKSdMqdeEhUU1ocQTW3AqAFzGZBuJL5iDI4PEh4El6zfKOEUy66G5Cmxq0OrX3oVoG2sCwP2u3xfISwEteuAytpKFawxcbQzhQSW7rRuJ46k2al6HvkmlGvtYvX9PQURVR2/kpZE0b42e1tML7UmIFa7F8E+AqorjYP943//
   vven/30lGtbSPe9V6kCwJ80kC9Qg6aQjnyHHqtzda/Rw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09L7293WV]]_Wed,-10-May-2023-05-55-03-GMT.mhtml

   Hash (SHA256)
   6c2fbfe2ca4222f30729af797cff9aba2fa2372a1af5fc50c9d6e2ed58fee6bf

   Signature (PKCS#1v1.5)
aSxDivzpP8BHodh2+PSzDefLzvmmLQGW5UMrM+HmgXGjFnYo8WyHwvYkam4FSr8yBU+6z8YVBLSkkJpvmFAh4NB/38v34y69REaFNieQ3Zud8OJGqWxVIFUBnzVen2OK77Q7p0Ke8hAHZMTffU0W9A4yqEi8QC9V2sX3R1/N52akeH4g2/MmEq6Y4ovFDcfEb9sBo4dctXla
+1x5fWe7Byk9nRxfxYVCeuQ0dIjkyDii5sTd3Go3jYb3dOjxFEBS9BwyDW2FLqo3LC0rX+n6p17ktWuX4crYurxlTcy+mhuM/SqHdp/QDtnvOqfKIUkbLN4gZukNtE/LGqLvADsVug==
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Smiley Face Shirts for Women Sometimes It Be Like That Shirt Trendy Vintage Casual Loose Short Sleeve Tee Shirts at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Smiley-Shirts-Sometimes-Trendy-Vintage/dp/B0BVZ8BFP2/ref=sr_1_234

   Collection Date
   Wed, 26 Apr 2023 06:33:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QyohW1jgVLXuC01HMzLR7Y2H3gs5mDUkETPYDnAyVEqYQx0ffWbWvQAMg7FsoF1bv+gedl5HSL2gyJoHyCROofEcbaH7vt6GGr7W+kXyk/X4p8zeWgv2erec2DhpoWYr9QRH5+NqqeHYOcQ7NduCAAFQ753hQB6l2g3MNaHVz+M=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Shirts-Sometimes-Trendy-Vintage[fs]dp[fs]B0BVZ8BFP2[fs]ref=sr_1_234]]_Wed,-26-Apr-2023-06-33-53-GMT.pdf

   Hash (SHA256)
   3f71549ea5e9fd93259252576c27c4aef3a4a657ab5ad3c75738e0bb05a05a64

   Signature (PKCS#1v1.5)
p2D7xRJ9afNsWf0j8QgHwLZutjQd92PhX87VgTNih/kIQodUJEeZQO6SmPRzf0Z+mbEJg4348/X1UKU7oCryp57eLq2piDMpnk8vqd01BNl+uPkDZG8j155yChjtY15wX7fQn+pFb8UJ5E/syefMn8MnQC9KCLB8Q2gLnaBlFkQ=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                           Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 13:23:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b4TZIHj+qkiuAUkJzskj6g+t6WyBhYV72ijjJD40eFJyTcqE9NBKoCO6crcgfFFhKMA52h/Fp7MtcFCPCJBMdcMeqoWrWlDpZ6wgNXKvtj93JidsVB0/ZyV637d4H1MRZcnTW2TM4VpOE0LAC0pb7cOuMjnykZgn2y2UAG8HyhSEGQabW7lgREUwZWyyd
   +3pSOucIZ3RccrNAlbdsCPpzijlHcVTUEOLNChZTfXezaoyAoeZgv65I5hWvSigDE+yGkEp2mSxT07+LuOQiGM+hUjrBtos3hDGdhMx4u0cTB/jLDtTLE7im6TEVoa6AHNd5T+gntD+v+VOj1aUbT3Uiw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-13-23-16-GMT.mhtml

   Hash (SHA256)
   f2fb3dbd08ab5239a48b582118ca1de723a62c443186f2e783e7f3d2255b1d8b

   Signature (PKCS#1v1.5)
qtpyJ7Ryv6//pITiH6rsSNmKEXGJIJSMmhemv7wIy36qQq8oZhVfh3ChTh6LfsF5rsJIvZ/hbimKNIB/5wKdn4sCxFsMQcC/G8Z3xCYowpUB5RW5+6wZ9ECOidRGuO2qH/qFtboMGXxEk3fH
+0yjnTLsHuAfh7sgjDS4ggC0txkMPcLBfMlRAHJivrFA8EA6LnOZtYrp65abHU4r8k1CxvMJ4tTHjfxKYsEcib3FD55rQzhaRu4cvnCbolRnL20lyDnla4ZFHSm9ek1nlW18MyUj/OzXwDvYuszA2u8MuVFxFAxosc8MY3xFR5xp2qB0WgkmK7KiKFXTIPFNi0Z+2w==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: JEBBO 200pcs Yellow Smiley Face Polymer Clay Beads, 10mm Cute Happy Face Heishi Spacer Beads for Jewelry Making DIY Bracelet Necklace Earring Craft with Elastic String

   URL
   https://www.amazon.com/JEBBO-Polymer-Jewelry-Bracelet-Necklace/dp/B0B8YYSPDM/ref=sr_1_154

   Collection Date
   Wed, 14 Jun 2023 11:44:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ot0EJfCpaDF09WPV0ZUmrCciCQ9caGWb5Qf2D/qheedgKg0ixE2befbIRZPw/JYn5z9mwawuzqqS6CFRf4Szyj3KTPB2pTpNA8luJY2Jue2Pm5iuczzL0ZNIdRXyWHoZ0DqqSHfAp8Kqhl70E0s3+EBNrCNYbWn3JDu7+GAtjGo=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JEBBO-Polymer-Jewelry-Bracelet-Necklace[fs]dp[fs]B0B8YYSPDM[fs]ref=sr_1_154]]_Wed,-14-Jun-2023-11-44-10-GMT.pdf

   Hash (SHA256)
   177387edf07180bdb3795f99000153864aba396aa934ad4489a91b185d96ac5a

   Signature (PKCS#1v1.5)
WkiPGciSupx1hrWXHTbKiiwVAAjMo54ab2dEfoCXPCOhfoc7ABeM05zQJN9e2bnoUMrvRqq0mJXwmRt1l+oP8jJzn6OEzwYK0Hg3FeGE6hmInYmmXVZgfIo59TD1etUYH/gwlMPjMqYKtCC+Bke+IbMHi45t7YFmRNwaOYiMEpk=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 11:47:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ne/tqvBNR1Zh2xDmNIgP0mJvIHq9DWg8eaIUQY9DhPYurpGit/b4XwJjk97l09xCf0OLayrb0pmarDG4WxVBIBeiNatummbpS/vFEbvoEtpjmnF6oJ4mYrNSVHSSFvILuM6IyHPkMC17JfNm9uiIkVvjK8rrncDr6WwCEcFJ8+pwplSjW2JrQYTO/9BHYPrxlQ3Z+FGgdUvpNClpcj4YJld
   +1ScYd0WwaaVbUI0TuDnWKDQarmydcCfsuTfzo5YiIxbanxAIbM22zTXO8BskGHo4qcNwOVfr60HUVivtsWaBC2geDFLukaIReOcQworRZFRxsHnoQ4lPksqL12lVNQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-11-47-50-GMT.mhtml

   Hash (SHA256)
   0f2ef99b052a4fd7270f1b6d5f64cfa3c4a0c877c7f728fa765fcc756583bb75

   Signature (PKCS#1v1.5)
ihsCimOxBAoNaJrB/6BAQOMM0HSUTSKPSiPJIC45nDy6mh5OW0GRLiixuSqFLES+89Kkrim3Ra44sNuqiSOIvh85QyDMf473sHYCYV6n9pvcvLbJ/WpIQvlkC34R+zjwIFN4DBh/ny2MJb
+4gmJlI5JozSRhe9wMcUED4wXoV9JsR4m7JM7DOVlftKzrLKWggBdIWATphHzcusU5992VBOqvFUPcM19iUl0Rxmi7A0aW32+Vhosa0MQmlONMpNMw96xCZ4qb2Ay80y4sSFLtgdRTFvFHlcyumYvrNLoDEn/CL+y+4v+/sQfqKUy42/NTx4pwvVzK/emhYj31cWTBFA==
                                                                                 Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Necklace for Women Gold Silver Stainless Steel Punk Hip Hop Cute Aesthetic Smiley Face Necklace Double Layer for Women Pendant Rhinestone Round Jewelry Birthday Gift for Daughter (Silver) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklace-Stainless-Aesthetic-Rhinestone-Birthday/dp/B09P51PYFR/ref=sr_1_305

   Collection Date
   Thu, 20 Apr 2023 05:55:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CMQZHFnx9uJ5nGvY4r+8rEZJb418HqlxVCzCOEliuu2FIwELIk6/FwcJMAJUMBaLJ6LFXpNgymuekRh7oDpAZ4TNN7YbiMmMLlTZ7JBscEEJeoawImnwZ4hoV4sl47yOprTImwuXAT5hvAL441phQbb09GZkQ+yCLH487ZSoMHo=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklace-Stainless-Aesthetic-Rhinestone-Birthday[fs]dp[fs]B09P51PYFR[fs]ref=sr_1_305]]_Thu,-20-Apr-2023-05-55-35-GMT.pdf

   Hash (SHA256)
   bd5a92a20a8a8f970675d90da17dd247219aef859e1cd7bc0792816500b3e354

   Signature (PKCS#1v1.5)
cJWARGnha+cA9rv49zmNLky8bLrILFAuhL3JMNnZ5GNUbkHp2YoS9WPAt0nLERt38xBmR+UhQWJ29JofsGqz8797Wyycm8BVSLhd2qFrhK/qx3GSYMMmYPcNjj4TWk4Q1aoXD35OzFbpvOMzCLmehKJdSrBQmBfxnn5mw//A+BI=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 04:15:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NWEkEA9iRzL6RfTVjC23VE4Qy1tYDVLTYt68wULVZWUn9vBQo0dXJXDZqtVQOjOdOHXkwLcKsbi33JcWWbzB8dmlBWFJBjs8+ZnZs+OIItY1pBQTXBbVypRbs1o
   +3fLRQ5pRICsKfwSpLP6eHzAdoJ5JPSxoIc5UBKHfIgC0cqBYwkYgYckdf8icy2OTUTNe4ocj0TiRkaTYmHNW2CgMvmw74kncSOGrCsZqEq3Z1mnTf8pUJvrNNS1Gg9L22yCYVgUTase5p3H4aCczso07LGvzo3jg/hzrqcC7ZvIFjdLMXXEqX5LnO5/hFrHbh4F9/cbjCfNPMxdONNrmxZYdfg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-04-15-00-GMT.mhtml

   Hash (SHA256)
   eb0ea4b5a13e5359b2778c17a983add669b20fcfb086ec942cfb57c8a76fa6af

   Signature (PKCS#1v1.5)
YgRU8oaq21U7CnK7wiGu/qSlOB79ZmoFw3Z/2QaQZ/QM7dvFK1dG1QxftndHlkLg6hr4I2RiOKqhgvyu5834vFQinzLcKyCCe56n9/itupHmST5C8oRTUHzYVVhEMWxkHI1aXKGYMpFGcnjmcbBZ4pfkQGHbqhcUQIQDMqpFQKmG/8WH0wYTkfJe7XX+ytHq436z0PixXVbC/W/
LRpo4ciBCmZ6uabMZ8HV3cLE/GuZiawukhwXJHobwA/q+yOTruh7TzcIRq34884vXGwXcZp5CDcvFchHr2Q49Eaki8D9yyxJoJxUzxYpRC+iqwGtRN5Efk8Vf2s/nemRwHVzK6Q==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: JEMUZEWEL Gold Smiley Necklace in Titanium Steel Gold Chain Layered Pendant Necklace Gift for Women and Girls (Smiley Face) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/JEMUZEWEL-Necklace-Titanium-Layered-Pendant/dp/B09LXS26JM/ref=sr_1_127

   Collection Date
   Mon, 24 Apr 2023 05:45:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OuiiiivHMYZgMadGqA/6NNy+N5myh8m/dSHdUlP07Dag9vAe5BpMqlqPns2/uDvDHGvgCRecyHGfA/DTcD0Tr9omsj19oxLUTM80lFrQQRcqJJDMX1SjOs5kuIqIsSkeAs8MsxfMopkOGWpd1QUSW59tMCQ1l7CWlbxFV4kyrkM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JEMUZEWEL-Necklace-Titanium-Layered-Pendant[fs]dp[fs]B09LXS26JM[fs]ref=sr_1_127]]_Mon,-24-Apr-2023-05-45-14-GMT.pdf

   Hash (SHA256)
   fa1bfc1b60bcdee7a6dd1409163d75b7db9f60641812c207a20b82fcb97cc6ef

   Signature (PKCS#1v1.5)
NitDURgYydDZVOuhXW5W2akyMEDTcJtV4cgq+KmOOXc6SyUD0u0oItCBGr+sOl3N4AOIAT6neBJ0IrHzWAYZz6r/YslU8Ncq+n+lpySxJihLPYQV8q6/wGyvGDSz0ja/tAdnYBIBtofmwXY3lbBaZYnX4w1V1BnixTMxz0KutFE=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 03:03:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hy/KL/OY1OdyDHrhxcpDGugSVcTSt6hMZn52Nt0we2AyhPiVjWpsbaqCk7clfFmktZKm3w/rUD7p/f+O2RivNI73DH4DWlbuNW4PFnta4CZt10/EdsDPR29IZqXcypiXMzLdHKkg24v/YMFxp2Si16x+6iVTRKe0K35l65HAMwZvApEbhzMvLv5NKacSlg
   +BTsYvkikVavLzYR4o4DY0GzPEeNZFTt9K1iywyvStd0UAkufdnP/38tiSMtSMuuPbQyEpD/pIyUlbuv8Bm+MvKSazbtC3EklWoF0XMuEaJwJEXQhIuLCRI5osrfjdAbmJZ/0DazmRGGQze3ZCFNbBJA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-03-03-23-GMT.mhtml

   Hash (SHA256)
   b78c5ebb61c243b28b65d160f552bdcff05edb368235d072be63745e997894b0

   Signature (PKCS#1v1.5)
EUKZcuE8DIQWZlQ07lMMKRBDERYU7ZH6fTkYnvga0JJA8sN2fpQqyBPdGgo0P4dS63yV9bB4AdeSY3yQqn5wN7OhHI6O57jiuehdn43iCKvr6OGPvojED6isQwpo1fEm0ee6A+rMkBVaJqhVOMN3apNeyIQZrtHh9V16jWRUjquw/ibHqoZr9PY/W8hq0o2ZLax8xAwDMhvl36URdTE5LXnS
+sehS2axkADPh7MDzsQN4xU/a5pTKUaC4DpaVbT3tFZxUXV2G6PPYGrFBwt5cXPWAtt1gg0ZOHv8e19Pzc/vn6tjdMK2+LI5cTct0DeqmTdodVJXiAoyI5APYhTc7w==
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : Smiley Face Badge Holder with Retractable Reel, Id Card Badge Case with Carabiner Clip Heavy Duty, Vertical Card Name Tag Badge Badge Cover for Work Office Preppy Teacher Women Student Gifts : Office Products

   URL
   https://www.amazon.com/Retractable-Carabiner-Vertical-Teacher-Student/dp/B0C1GGWDYP/ref=sr_1_147_sspa

   Collection Date
   Wed, 26 Apr 2023 09:18:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VeSG6XNZQjerbdnsDwJVBs0bpywRJcdFM6FcacAXgh+ybjcgf9l4hp91oU66nsvkaLxm05EM4CtJs7M5QuEUi/Vwl+J4hSiGKZD6KJyryuaJeOYrpJBVfq3YoACVaGyksLMK0NpGVmLGDxbmElRdf57/iGaeGqCZR3IQx0KmqeA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Retractable-Carabiner-Vertical-Teacher-Student[fs]dp[fs]B0C1GGWDYP[fs]ref=sr_1_147_sspa]]_Wed,-26-Apr-2023-09-18-51-GMT.pdf

   Hash (SHA256)
   5d80ca748f5106e702e0e5a02ae79506cfd24d6a31219db2d5b56af2d801d1d7

   Signature (PKCS#1v1.5)
AuFQF8cGzcBZ3x9Ob6y6WxDWKXoHryEDMInhvtqLh/gmSePPkHDNpS0RTtpfTiZPEvF0idrAWYhhjR5VAAhhG4Lvy70rvUg1c5VXwbvwwokI5ELkcG82caTe/dejMSgceXKstEysErUSjklsUbfC4dEmtSnPxuiaQRWjlLbpdFM=
                                                                                 Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 18:08:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   h26Z3Jx6iBni+YDK8JIMTAR59sbGGcn7sofEXM5VTZ76wLBXZtIQUSLg5jMMxN8V3d+ZSuL4L1fjIUJBIML23PNYc/wzUDR1nmJJPHx/7I8wH2gH3hEYXhRvAhbXWgb8vJp4IAG6KA0C5yAL+ZwJKXvBbme7L7qrbyFHBcN2Vy7mpjzmMv2+ATNrjJIJLMNDV/
   ZaYk3GAXyHIUbVPBdNhv6lDZtmrSbVvgNjH8wxiVf7XBdRf+hdEwZ0z5o6vZMDyFOlMAa6nVuL9BdbwhiN/fciRYxt0AZg8RiDEUsR+rqfpj6p4/AS71Ejt9/w71rEzVoh+AAn5cbpIuOzLE3miA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-18-08-12-GMT.mhtml

   Hash (SHA256)
   c515b8f18e6ad38659849cfe1931103a865b9ed70bb6a534377d6ea82c1b6ed9

   Signature (PKCS#1v1.5)
YRYup8LnmMKMSITymfNtY6dzRO9nG2IlXDa05EoNBW3lwKUZaAqQiZ+XfaOoDkeOpWBpfdiApFxlqNS7eVPSbzx7nVMeRyX4AgRmpw9tDLUBG4UDbWe13Hxuxe64/6kTBjIa5+9cix6gPSbgj5cN/2jy/eU1KKDxwlFKqiZBG9gCVzWdQBBULMkJN0G0PDIExJnc7ORRJ79vg+BOb4uM5Ze22xjq
+eqTsu+xz7RjAdl2NbruM9THIlUJt+Y5nkhQNdzkQ3Omy604nhMDYoEfXY9GBfHfBljb4a9vdOnFH7k9nW7bS0qwcozDSvbj2r6VWr8TvtvzSw5y1OuzmLz8BQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Betykuku 2PCS Smiley Face Necklaces, Gold Paperclip Chain Necklaces for Women Trendy, Cute Necklaces Aesthetic for Gold Smiley Jewelry, Simple Round y2k Layered Women's Necklace: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Betykuku-Necklaces-Paperclip-Aesthetic-Necklace/dp/B09D6RZ485/ref=sr_1_62

   Collection Date
   Wed, 19 Apr 2023 11:49:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Qk0YtROfxX4kPqolYcPOT0XLS/XgNnnQTqcahcbw0Hl4Oi0U41nFukMzmueiJwDyoq1RxgjR6qkF9zWQ/P6stw38DfpnEzov8sPYfBa01Gk3hAn3I1Tr4VS4Ni7PFMkj8w9T9GdjrDH/qHh4qMS5sx2ELBjjjc6aJJociI13QfE=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Betykuku-Necklaces-Paperclip-Aesthetic-Necklace[fs]dp[fs]B09D6RZ485[fs]ref=sr_1_62]]_Wed,-19-Apr-2023-11-49-19-GMT.pdf

   Hash (SHA256)
   1956d465d923195d3742506ed4d3cd2547d83975fdd4d61ba43ed1750cbc4cbc

   Signature (PKCS#1v1.5)
NkRA4IvJfb42P1alzlWA8c2PMW1mGlzCQNmmCCEEW280r3mI0cq/jKJiqdRF+cHIHdNuE3mUYuAC/gIxo1lLcgNyrPr0rkIGuJhyCC/IQkX+jWUHYl99v1M5HMWDP0nYz9F2gu/PNAyRwCD4na56U1RMk3+HQCJ97VzZcNdrQMQ=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 11:35:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o7RiGSi+MpetNOJQ0He2ArlJgOrit3ywBgYVpPAdw45+r7xmtXM4gDheqK3umpaovUOQXzXppHlGLgBc03g6hEIppZ3CSoKNN1//Yuia0lgXkGnQ3LB8Ie/XXSYrx76e+rSvpszfEEhuAxJpu+FJh3FmFsAqEoQmV0epmCWmGs1K5e00n3QHe/01hO6ZdBBOnCvUNFqFIo3Y+DfKn0JC+
   +40ClgyDUOVPZ1rp54cJ6sZNWP4iTN2/i7/89JMa3sqoytcTJ0lFy2VHYHs+lVZO/CPb1DDodGHG1bXalx9pX22aIkhKjsViz4a3Bs/wjLzM1pf8eJvFMgoWUzNW0R+fg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-11-35-51-GMT.mhtml

   Hash (SHA256)
   41e9085c55ea22c1ff329769a758033d13a22a371b0d9b1d905d8dc476f04ac7

   Signature (PKCS#1v1.5)
HNy/NtO3k1rlR2Xy4oREvaWKm4ZI4uPiKC2VnmVZTbbP9wknb1ayrUXGRGuU7qQhhKV5821xax8BpnOsp+ZEchSOrSS9djuLvQzvxo3lRSQPjf1N83M629GHhZSU/uPxbUI9N/9TLmPHCVqYFTofgikgvYiOYXvTYCydiQZwK2rPXJ4HEBr
+zVMVE6bB2Jtc6PsXIE3nMq2TfzX4t1LUg5NMIeUb9uUIJSZvgNm/BYzbb/5LvQQZ8U5e6utxjneDn6O+nHlw5g+QNd/rcdFnMar/7hVooOrU/gUwwZv9MVetQi2WQYLcbovDySYb2xQ9Q06bsdIDbZixVTVB2axdQg==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Beads Gold Edge Metal Spacer Beads for Jewelry Making DIY Bracelet Necklace Accessories Handmade : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Jewelry-Bracelet-Necklace-Accessories-Handmade/dp/B0BHF95QKG/ref=sr_1_62

   Collection Date
   Wed, 14 Jun 2023 11:03:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OWsWVbK9yP1eIQaLmoBr+0GCKR2eiMyeQyTJ22Bv/LRFLVPC3PUgc1Pp4EOGrKFzWY//Y8vwLof4BOeA9iLV/ci/fv3+eR8fO3urlkq88hF4EVVXqrSoEJ5qpegJUy1BgcdkBaP0o+QCATMTJIbYC196UogRptgQnVieF4FaUik=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Jewelry-Bracelet-Necklace-Accessories-Handmade[fs]dp[fs]B0BHF95QKG[fs]ref=sr_1_62]]_Wed,-14-Jun-2023-11-03-58-GMT.pdf

   Hash (SHA256)
   0e5dbeb8a7d92256967bafb097eb577e2a50afbe3383179c59ca50c54cdc374d

   Signature (PKCS#1v1.5)
sLocWyV7PAp4JOLsHP66BrAcdzQrWXlprBH/pm8gU4Dh45NcVtAep2sZZwBfRDJkHNAxwjyr1drLE6jiMaMJ+PgDkD9HFViVHhWvZ+VNIVNp2FZWJ0yzfLSoorgfV0GMupv8WfpywvX2R+GA0FN6H15Cyoj19RYYfPtacThmQ40=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 07:34:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LobW607fmwN640Z+pGVUeTsMSbMsVgD2E9Fl1U0XGWdnjSumDsWMrNgMkdCpulMyGEiydwoT9Xo+8TQxCncpec798pdL7RubkZTWT2wOQHamxD4CL62JKxpJvrVRUrpzt
   +Wg6hgdBjf8vfFz9ZOmLPi9T3CVajKfxualnhLJjRcHxc5rNqYq0Hh1DPoLawbemu73+tTMcjTtGyjMHmUvExrtBDVKWwwv/5M/rTlBLCrgiJN/W316qKdNbOXXXtAIYEOAC/wsncl060xy56a5xclR2XLujPQbJC5KU+QtXnLlzSno6+WerG/jtKalzrt/gxicKAdzvskkHE66WxvcHg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-07-34-19-GMT.mhtml

   Hash (SHA256)
   eb00bc888bcdc65b3f1321e4e74aa1691fb1d30a4236c152a079da134103cdd2

   Signature (PKCS#1v1.5)
Ab1e2RccazXxTLEXPtNTpZE3ahhI1W6aURgiysyoZY9MGydaz9bbaW2IEP1SyV4K66h0P7vU3EBQMRvqS8ZBbgBrnaz19iMuyQrWMhlNL1HbphI5DT2myzsT1pwL5xvY2ElbMkRQ4oK7a6zkfI+COpHlnLPFtn5Mi2AmHl86o1Whub843dnrXBKTFzbdhK14LNqdfwMy3wnc0kD8L
+3nKkfFpPUyYLDrIfAnpaPdsAaS6oEoGJy5iVfHJ3jaMFXhMrqBOd8bznusCXnVsicPum1UQk+/RwtEOzoeJM2DXj5BQzRK/EM5aQRCrmRCS+AAqzc+LY+nCVPjxcclQLUVeQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Voisgufley Aesthetic Colorful Melted Face Case Compatible with iPhone 11, Hippie Trippy Psychedelic Smiley Face Case for iPhone 11 for Teens Men and Women, Trendy Cool TPU Bumper Phone Case Cover : Cell Phones & Accessories

   URL
   https://www.amazon.com/Voisgufley-Aesthetic-Colorful-Compatible-Psychedelic/dp/B09TTDDQB5/ref=sr_1_230

   Collection Date
   Tue, 25 Apr 2023 04:39:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FHbNU4oFZVX6s6cOiYBvEbcGR+iycPYVVLfPcy/qXN/OD+7JuWBCiVhrTZWJBUBiDeGvCo95c6jtpNMJPFFL0hgpg83LY5oEIEsrQO+aGhh9xAXy8yy351OQmDiGc9kpPmhP9o7uLKMQyNCZIJM9IWgltBdeq8vCBSU2p05zTYs=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Voisgufley-Aesthetic-Colorful-Compatible-Psychedelic[fs]dp[fs]B09TTDDQB5[fs]ref=sr_1_230]]_Tue,-25-Apr-2023-04-39-51-GMT.pdf

   Hash (SHA256)
   a8eff4962eae1e8e195ef7507f52866d607938dc3fb16b62bf1945d960836202

   Signature (PKCS#1v1.5)
VSoNG2uqvCvngvraSSVhpVP2BDAONuc7zy8eXEQN/hZLxSxV38h183wLozFL3RfX0alwvmuYpcePTL3+P9pNyNwAc8VuWqtA0rFcS8V/C+050PlGXDYN0OVJ1wU6fZdcf9dVLc4WheeWbrwMK6Qqi4fIK0Y0DqXj9yjOJQ4HfJ0=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 26 of 40



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                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 04:51:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AU8pnXUSwZjobG7JKSy9aFUevc0CS5AzPsJ2NQmmIxBax0RSEEXyimVXuT+HxHmjMhwrPJPrHPm/SZEFJSqPOqOp1fdekGW3OGL6FMOs3cjSVV3TbIn0GAIPaUGeWgiaNSMui5J0N0cOo2lNRLYno72z3ZZ
   +0g09HTks9dLSyke4SrLeNzKJmhlfuMDnMysnCQ8GxGuWLWSzpxVFqfhsmGxd73MpaAhZz/0TzahYqZUGu7txlAP02T9dyPOFaZDML0YzBGlcTvbP6u2pmY3Z5t39ypk+YfcX1brKy+CFi1Hw/6m3OPmJm/Zrk7t+empzJ69VGMjFCsag85VV64TMPA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-04-51-20-GMT.mhtml

   Hash (SHA256)
   ae5d14ef2b70839827055249dfd9ac3005a8428ced6f0e646360fa499c1a14db

   Signature (PKCS#1v1.5)
IF5wqLameZyyMPujoMJL2oI3ffqs5Qt7+MkZnLVoN+SezZG5XF1R8h2VYjLDiXeJAV+TM+E4+nowceeztH+OporS3nI7IrNsf+FNZNfiJLg6Yd9YtUVbaTNK3Nt8HsKjDHWbuidXn0RaarAHj6oVKB/aeTckt/TKUqzTsev6O04S1TkqSRLe99P6TjYKlBMWNPf/
omgOiMLAjNLmp2egsOkdqgzn/3dG8Y4eAHPg8zheNuWqiSwKp+Ji3c8+O6exA0cFNt0h3CEdSVZiW0H2eFJDG8ssfWgYSygplynIFvsLEVutYCwVB8ISBj2YcwIbdn35xDkpC/SO6hC0cEc/gg==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: OEMOO 4PCS Beaded Choker Necklace for Women - Y2k Jewelry, Smiley Cute Flower Necklace Colorful Boho Y2k Necklace Set for Teen Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/4PCS-Beaded-Choker-Necklace-Women/dp/B099RMKPRC/ref=sr_1_627

   Collection Date
   Mon, 24 Apr 2023 08:04:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GOw+C/oUxmuwyYmxdveaSQ+v1ZGNgPzOArXKoNnAh/OxBlouoZdPA+lvzmbJ8xTLvJQN8FbbYLrgMz6OhwszqgUC9jiqmFhDFg1xK3JVlZ644/RiLTIe/Eos6HzSi+Q9HNTjs8uBvOe/UXUL1FDQKmEqSm8okI6tHvN+fWBCjEk=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]4PCS-Beaded-Choker-Necklace-Women[fs]dp[fs]B099RMKPRC[fs]ref=sr_1_627]]_Mon,-24-Apr-2023-08-04-15-GMT.pdf

   Hash (SHA256)
   f8a05fa65eb0a5ff4a089b22d9e5c1d0d48c8230bb2003bd2871f9f99bcd76c3

   Signature (PKCS#1v1.5)
jpgwI8lqi6JA/UKzQCDYeP5BZZgN1tQv+axe9pvlQUjDPyouUtedVqoGutg8dxLdpMUUApbelaAjfnPW+xtRbgMq88nHBcMqVU8EUnBfinHEzceTyl9mKsRWzz2Hsibj7GvDYpGjnVi0JOvK08h+pvlgeL9Xy8q8gQy76d167n0=
                                                                                 Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                   Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 15:08:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JPr5jPvo/zVQCnQc12tlZnyUE3BMsimiCQ+9i7ZOZQ7IIllBBqDYeODJd4wCvV1QNByirsLkfcahED23hRMSgCTwZ7rcAVZOFkz1SR14KuiX5ervwESUc4lkOzl9Et5rI4nMDiBuI2zeRmYMbuAx2EVZPeDhAiBXvMVxunbt6skFwvym86AsQ2/
   tNp0Bt3WGiFIhUTEb1wgSCwKhhDnWPPjPU5DIPOaDPZsK2bra8b1Lh5KrAqKf/ZX20S8zpocqAbF2r/1xcdHwkO59UggVrbvChCshqbnIkuSthqNk/0qCwhUTEBnTQtA4AUr5tbWqtGcKgiG7of13nCLeESevWQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-15-08-10-GMT.mhtml

   Hash (SHA256)
   8de41a939665959650a96c36de45202c0f9944865e34ec0638c16a41f1f5c967

   Signature (PKCS#1v1.5)
nOnaOXqn0aym9fA+BQbMtp3g5diTKaKxOdlkR/eFWairnsOoqx6JBt3Ip1aR70k7hEWvUnhXP1e46pYSZcAFFShRa2BgSuyYrdjkbdz6vYmNKobroIml0kXdr3vec0KafDnoz3g4FimvsWvY49DVx7QZ
+r4VHEZa2DgCMO9J8auV818SDwzrRHW40x3x0axA0Qna27OLRFDnSa5GCYCp9+Fdn8RSHUWSi7FfRSGl4hpoCsnn6AYDP/1EjARab8SkCzGP2QeEyismVRUbY/kNuqzc9h+S4uyeGE9LObYmHvLdvyYZCPTtRRx+IIItWVeTjsN0Ln4u/iCmJhPI0X8o5A==
                                                                                  Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Roemary Flower Case for iPhone 14 Pro Max with Smiley Flower Design,Smiley Pattern [Buffertech 6.6 ft Drop Impact] [Anti Peel Off Tech] Soft TPU Protective Case Cover for iPhone 14 Pro Max 6.7 inch : Cell Phones & Accessories

   URL
   https://www.amazon.com/Roemary-Sunflower-Rainbow-Absorbing-Protective/dp/B0BDK2WX8D/ref=sr_1_46

   Collection Date
   Mon, 24 Apr 2023 08:34:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   p9bWwLLy00hRtKBtV63kWF5YVDBw3XNQT0+Rbz6MHSaFGM2RePqout1sI4QJnBI82/fJPJLi2fSOPr9T3tfxazRyOPTrhETNMcizOpH/PGeMfKAsjTBPQUhJ0Suz5wmHNYbsom15ljfDkw+WLLwNkMqrYmxHOPvrx1zZWDgP/rA=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Roemary-Sunflower-Rainbow-Absorbing-Protective[fs]dp[fs]B0BDK2WX8D[fs]ref=sr_1_46]]_Mon,-24-Apr-2023-08-34-28-GMT.pdf

   Hash (SHA256)
   c926420abe87472858c716d8cbc822f4d0ab472db4cb7a46a2dcca4d40b4ebbe

   Signature (PKCS#1v1.5)
I4EgroYD9okteDRgVxKkbmifdO+0IA+rrkMPuYy9zXzmmTlV/cHmM3kXF4N0RgHD2fQhHDMpfLQGRXqTUwcYQ/X9GiiVnAQzeJcfPyt7NZ9dzlyLfujsIzWf4McST2rvEWR+sMVGTRHjO5K0wdntxOU09K0ufPonvPV7eHMsqpY=
                                                                                 Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 23:32:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   l4F3Q96QA4GxXGk108/uuumRKorb+rCloAvD6sMhtSVbrByGZm4bEYptL1fQnFQ1Sialsl7AMBeMyRrgK5c2X8SVvexLFmbL6my1ZFLUrOP0Qcnk62dO+LW4MGeomZYqG8da6kBSyGu6I/erU3Z9ZZMpZ4OMmFkqkaPebjG6Lw9AKnG4uBCR1WY06sbdg+Nl3ivQAD+T5auIL3UAq/
   t5KGTHbth1sfBPQKb2+zDaiSJEGg9GGXd91MlW23KtPRzUxvOCrIYLXX1EZZykp3QeEkWD1VzxG6/etww9gesNbt1x1cRD1kbeXgB1P/fsT2tebn8YC5w0VTWzNdvoXUJIMg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-23-32-46-GMT.mhtml

   Hash (SHA256)
   526d8738c00292f12d32c80db4a6be97fedeebd1179cc2e42e2c5f3fcde2952e

   Signature (PKCS#1v1.5)
Xn2EOoWfjvpUgQJkA26AajBqi1tTFMgRImqeO1wWO1FxqRy3bmAQNcdNjeHmS9dw+KwUnG05q3T83e04+JLVChq4sKj8j7B78pFS7W5qqXrlJz4A2x4BLECIgf132WITDb0x4gXjA0OYqxS4trY0d1RjdZsQHQKJ+uHORongRfmcb4hE6mBpErlmitle0RxlRE6vc+Nyk6Ryd9x3X0ua/
JCLL4rzC1ibzPJyIUxn5Vtu8YBOy65GAtcWg4mHAFiN+2pluj5zCsaloZax6sQfapxL0IT6R8sQSHlJypiuz0zRk24CbitNPbCzD3zhmS+U2cfAd92Z526Lvzvn7yk+lQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | JINLONYU Smiley Face Happy Lightning Bolt Evil Eyes Slippers Cozy Warm Plush Slip-On House Shoes for Women Men | Shoes

   URL
   https://www.amazon.com/JINLONYU-Smiley-Lightning-Slippers-Lighting/dp/B09ZK942YY/ref=sr_1_180

   Collection Date
   Wed, 26 Apr 2023 05:20:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AKtsWFAbxszahoCXloxgVYnt30Ww7ta+RZPcRE5Sh2SOATG9kxlvQPUbPN/+Y1eFze2U16QAT8KMxrootGJT16fjYRGjnVLTEFkYWX7EUs8zvn1CkmaXSP7NN/aUmBKhCRBTquGxGCfFuN4dyo6xm1wZsQFkG4EZY+liOydGprU=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JINLONYU-Smiley-Lightning-Slippers-Lighting[fs]dp[fs]B09ZK942YY[fs]ref=sr_1_180]]_Wed,-26-Apr-2023-05-20-57-GMT.pdf

   Hash (SHA256)
   b60efbedcd05ae4f2706819b70f28a2234f19040bad6c5283f4501fdc53eeca9

   Signature (PKCS#1v1.5)
R97AwQqH5vp2/HTBLvhI4KwoGf4RMojeMMF0sBvaliqf1bXcJmxwHuXci9RbwchEJdnA4KcUsIJMcV0VkoHF2Hz2xIC+nxzgJkHpcnU8ZRalV0KWsqNcDH2cTCjoFVtjJZuAgWvrEj8bpLDqMrPv6emlrAoLktUXzupVqmd/4lk=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 22:49:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eUMm062mJ1F48yoLdvJPQjOFTxUgelGD3YDWH9axzrQHsmFGgdn58YxY1DYl4QBRhDdZvHQC6HHNppBf4+vZ+XDbnaCIKtYrTuuSzJfCGY+Q2ZQgcEaTJu2LA0F2QO6HYdgQd9aqHRPM08Dd25HpDZvIGADMQ1hFTA37Es8LZZaZD+42U6/
   poCUtovame6GdM2aiHJ0uijn3X9o6dkCAH6yD7+QhLqghiO8nSBQzpctAddktnF9XIaR4F8n2KubtAgOkglvIYN5EesxJKKDORj6oAxILWaI8fcwxBLW4Z3LRKczu2djjxsXkt5dQMR7KXXLKciNr3n8ooImRJx5hTA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-22-49-08-GMT.mhtml

   Hash (SHA256)
   de32f986525f944834df128e58a5eb346cee2ee9479f396faefd88b4c8de67e3

   Signature (PKCS#1v1.5)
pjvzC/0NAu20IDkAgpiWZa4qCcW0D0qW9n4abEfNG94b00fMlGsnvlFWqUNUNHzds8IrwqNKMCkJs5DBAXFSd+0ZiXSPvDX9psGwWCOA7mb1fU6gEMsU3TusYBx6sX+eBcOfxfyerRFs55pq+memYYRqAANS4Mfqu/TpH08Nu5qC5LbzmgykmgQPtTOD3FRQgzgwA/QIW54MITNw/
hXWFTXUNpLGgKRf/wTwlGB12atScLKtalKeoKTO/q2emLyuf6hyPO9jQWDeQfE1mF4+dQ6yzAtC+HYbBWkK+6qD6g94wYefh8LBHOtd3DFxIGxo5A+G7W9vRcRO9t5h64kC0g==
                                                                                  Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Hannah fit High Reflective Nylon Fabric Black Evil Smiley Face Tactical Patches?2x3.5 inch? (Red)

   URL
   https://www.amazon.com/Hannah-fit-Reflective-Tactical-Patches%EF%BC%882x3-5/dp/B0832Q3N3B/ref=sr_1_81

   Collection Date
   Wed, 26 Apr 2023 04:48:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bqyZclJMJqdgZSACSl+k+7oCaawjpLz4pKWFOYPLGZkfPbGza+jjDkwX/PgsQ0CdCcd8Cp6xOqPdeZM+SfsK8RF6xybplc/Q5e4txAnY4Mx9yH9eYbUBrwzPedzWS8vrH2VLeF6qnhsvdepWK2p4vVKlzhq87amOzzFuv0EgSfs=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Hannah-fit-Reflective-Tactical-Patches%EF%BC%882x3-5[fs]dp[fs]B0832Q3N3B[fs]ref=sr_1_81]]_Wed,-26-Apr-2023-04-48-18-GMT.pdf

   Hash (SHA256)
   deecdb8d3fac76cf286ce6195bab3f16602def5965f77960502b3bc41f768dff

   Signature (PKCS#1v1.5)
C4A1xix3hFNgLSMIey5UcPWmkVfFZBRHKqPQ7TB+MIyXw1cUne6B5K+W/jB4AQ6CbIes430dONyrGTsgelRezTWF4GLU4qH3e6m3WpobRRWQh5R5ImEK72aPq9tPo10DPGMo99Upm7CK6Pb00ib6MO74HSwaO73FDDHfv4AMXe0=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 10:27:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iSmNRNWizHI1logmdLf2FdR8dUFgUG5qr+nbTe9x4ENmGgYUIsv18JN9FgFMWn8jbobZd3PXSpfqovJiiZyMN3Xi3rnACSIqGmk2Nh6I7ldN2NPJXaDMagzcb2FN9wEQ0YlQxPP5NBK79K0wAqiOvcjhUQZOQUdeF//
   g3hon8RtJ7NQZREn8KUk1Ywn13bNNsECwnZd7sSkAjqSOIvHH9ppiA9QrcJwmoXY2SCN5dD+QA4mAuosYE8jmBWAgjw2lNJ2ek2QNFjlscm6AhjBYg1qO4EIeRafo3W6WkNmgiNzLcbqEC5A+JUKBCVsmukJ5w/el2WIUH2IrnAS4IBJ4Rg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-10-27-35-GMT.mhtml

   Hash (SHA256)
   5ea5f424ff8aa8c3f3c7b3217de36398fa9cd1bbc85c3b0e466128701b946580

   Signature (PKCS#1v1.5)
iQH++wCbHh3OWTSa/hTH5hh7w3nTvEQu4LAWseOWR8FqBO1tT17V3W1YE4L90S2xts9xwbKUOqs9eDaCEegadxMad7s6Qu0D22IPzwwWip1dFrnsjNZ2kifBzhPZfdNVvtYcJiwLvuXJ/
uywzDQhp8frdo1kHoF0BCGF3riKvT32s9+qZ0AONHdXM2/6jRBn5H3cmYe/6gkeOKLY29H0McqcZ58lflNyYaFhxQAxIr26bnmfIj+QtpTHJrNbtnajdLC0sT7DRyDjfyEvxUa94IIMikiDIEdoAvywJimSsbMfwd2/B3wFyrSYInhTaeouJWdYFkZnt0DHQTvM7TFn1Q==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: MIFYNN Smiley Face Necklaces Gold Stainless Steel Paperclip Chain Cute Simple Round Love Smile Necklace Trendy Jewelry for Women (2PC Gold Red): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklaces-Stainless-Paperclip-Necklace-Jewelry/dp/B09H6NZG59/ref=sr_1_167

   Collection Date
   Mon, 24 Apr 2023 06:05:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gBPFX4+pxjmcXpgos8MFhvilcBQYxKf8RiLczivYwwH56fGR2p3VXmH4f79pVgsIudvDm17uNlzhcn3K2McZsj0kpoAFzXF75Z8XePkq1MwVdjcvdoz72FXtPY+9tXKt/U+UWlY5KXv6gcpCz3GOB/Vcdx6isq4d2rO2nDjhu/8=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklaces-Stainless-Paperclip-Necklace-Jewelry[fs]dp[fs]B09H6NZG59[fs]ref=sr_1_167]]_Mon,-24-Apr-2023-06-05-40-GMT.pdf

   Hash (SHA256)
   8b200c10566a05bb83d3dd33ede48b8fe1921dc5c15f3f390392218e35354143

   Signature (PKCS#1v1.5)
eYpfc70WlWSEaiOuhj/UClV612ANCvXUOfNm18mii1+2xPJYydjLEMFXbVSXztCZWSC4S9Evlx9PLKnqGW34242pTcar6dc3x8iZMSahndfCVpb8RO/DyYltkn2B/xIxh8t8mqB0z72LbEju5IHfOn7vmmzdWtSUfaaoi4X1R4g=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 05:39:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   O88PqDep3Zw0yVWOi2hX+xCwD0W5nYqSPWKb/vGsRRjgC0m5xVc1/gmg11hZ/otNCN8yMye48FnzQ9GsSIe8ZXLcs6LLphhd7AdTlFhkV3xnrHX6SMsU1LecZmVXSfIVvhBYRfb21pYFlMgyFu6DlmbDrECxXpl9CaTU048evzytV5WE4hf
   +HlRS71URxHT0b62YFPLWws7VKB2QUBVwZQB4Aa8d0CcxPmYhO/0lM+pmPRyLAjvrdg4Mnbp+OdhAV3FtKZtZDo0O4AX8dbS4ijH2ac9LwIK6rKD5hq+mEei2HRrEfbwkNCwbkaqz+3krNWtCBDDAyylKHdOFHHJerg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-05-39-33-GMT.mhtml

   Hash (SHA256)
   1ab2a2a274187785af03cc36933b0c7e7f8bc43522c44ced8efb6c53e4e39d16

   Signature (PKCS#1v1.5)
L2QzwMf9PB4/JFmequuw7ahuM2aT9m9hzvVhNwzKi9myowPUfTluzKwZVFBdnJscVtGajfsvmDaPZClgt7oMpwjCr/0Lg8e/KVXZjbJXvwZQ03pDz054Kk2Ovh3oHX5fYXF+/Geb9Jx3gLNYZ8OppfFYevZ93AAJXz7w1NzlEpuA91uNnEAqHMOVJ4D37wzBWyOu43S
+0mEvAoaFDVh1nAb5mLjzoqZbKxhI4TARspGBSbqrFtoHO4d+05Mfn4jgSz5aCZ1tT8mXDIAkRhk3Wojjy9U3T6NcMFs4347osZxLmlcT/ROnY4rNH7ovoP0mmwih/zD2FY2+Ru+Ihnhgbw==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: JINMOMOMO Iron On Patches Embroidery Gold Border Smiley Face Heart Eyes Lightning Love Rainbow Applique Chenille Patch Sew Clothing Jackets Jeans Hats Backpacks DIY Craft Decor (Style 2   12pcs )Arts,
                                                                                                                                                                                                                   :    Crafts & Sewing

   URL
   https://www.amazon.com/JINMOMOMO-Embroidery-Lightning-Applique-Backpacks/dp/B09VZBSSVC/ref=sr_1_82

   Collection Date
   Wed, 26 Apr 2023 07:36:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hjJpdAZq6CnrNs0fM/Rx3IPvS6OEn/ZiVqQkRB2fLzvywmTnuLoo4NToFQgGt2Ex6kDetFeOkJ/YdHQ6BerrjLBOQLjyRO0Gch0QuTYxUuvegAfaryguppwXUXKHdcq4gWkb4keckx1dAXHgMeVGMP3FQnAHQ9MxEKEZx4DAfB8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JINMOMOMO-Embroidery-Lightning-Applique-Backpacks[fs]dp[fs]B09VZBSSVC[fs]ref=sr_1_82]]_Wed,-26-Apr-2023-07-36-22-GMT.pdf

   Hash (SHA256)
   14e56098235b61847666f3cec0549a46bbceda40df754606fd84c8c2e8ad3ab7

   Signature (PKCS#1v1.5)
CH3nkzmanlwXlzYw/yIAKG3UP9QYTNvynWydPpR1bUcTmQj37MBckiE6ul4fhspsTtJ2cuLFOkkRhUJZBAze8NWPuv5DakMHmocl6Wb8ZkuHLb4FmuEuvdgK3lMRovlbDU1RjUdpz3bIje/fYgU4Iy4IQHQE9t23cgTSN/i35WM=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 09:59:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hN45r0ZWTRtTtIDuE+C3dK4pk8KVDZi+Mz8t6mWCpoScSBgDsurjQZbj4yD9+Y+rPNGoEBq11+s2uog6dWxXP91dbJF6JgxEi9mWTDABblueG2jntE1bbUYgAA+eV4RDzT1bV+aDZM+9hBFc1X/
   HOxOSDKfPHBAbU8Xsw8ytipiDD8xvKdp8waLqVHTWHCxzRsWarQT32FnL78Yp455wWCIAEkBanZ8WGtMm1YPcL0wCf5d0MOLC8HNyfUyDuczaigBuQ/11mAdnjdC5GNyo4T2d87KvZXEXuEvYKyE1O7Rc3mWX3Z08JdE/icgiPgvPszI0eBpMoTtJfPUFsGVfkw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-09-59-11-GMT.mhtml

   Hash (SHA256)
   05daaaa3f5e50248ab886c15b8e824e44b1f7bb28698bdd3763873aca8e1ab56

   Signature (PKCS#1v1.5)
iwISVWqx28PaqlS9mfNuGuoowdPUT1A1JYrwzMRUSazSy/8ygtsnZJJPUcwYJI/k2D1HToQD9YDfDut1/orqfvErRSvN73rSOhpHf0JoZyM2k0x2ftnkHKjL1VH+TyG4wJpgnepAWHWVl6K5agJRsv1A0JWmzwkgfZupr6qIbt457AYbSSx8kNuQ7Ps2vT2guPyXE10yk86CMOQ/sRJ5MjJnh03uS
+9fTA6MtkhxfVM5DgeZ495E4LmvKp/ejIoowAer9Y22RX5uaWsEgi3Ym30DLnsqQz+pafjEE+j+G75pjl5F4UmM/gFecQ8QK49dHptNdi7VMSlna0xr4wDM3g==
                                                                               Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ARTMC Nylon Hook Cosmetic Bag Women Makeup Bag High Capacity Toiletries Storage Pouch Travel Make Up Organizer Waterproof Beauty Bags (Color : Pink Smiley) : Beauty & Personal Care

   URL
   https://www.amazon.com/ARTMC-Cosmetic-Toiletries-Organizer-Waterproof/dp/B0BG3VKNCZ/ref=sr_1_110

   Collection Date
   Fri, 21 Apr 2023 07:23:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Kht0BMt9F0YIjMhExyH7A0lguZbIWQsakKkYwTsyuEBt+hqKtcBTd9X7RUIkoXk+z8+/0IuNadrkMb5qQTXWs7d1YBl5rWhZgJFe9npx3Zw66+iKrbWpnQ2fvP/Kyt1fKSlmYtfE6O70GaRhi5t6Jarm8SqH7gwR/aDGUS6ONcY=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ARTMC-Cosmetic-Toiletries-Organizer-Waterproof[fs]dp[fs]B0BG3VKNCZ[fs]ref=sr_1_110]]_Fri,-21-Apr-2023-07-23-14-GMT.pdf

   Hash (SHA256)
   661add854d129a2bc5c96a2994d85ef4a5d5c7bb0d697f5fffd864a302ff2abf

   Signature (PKCS#1v1.5)
gRsSkjimqzl5MoxmXpeJArcKThb9EtJuHHAY7vEjLr2h3SkKk1UkpFL43LLWiw6yfaK8gIaPRFYGQTmlE+TnEVTktRDTOqKz8z8IeZJ0ujLOeTuHGmEEbEiPbBAjqzVmlyTXhRqkRi4FMc6UWHJDP4QUZKilVXkXnLg7/4misVQ=
                                                                                Case 0:23-cv-61203-AHS Document 36-1 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 02:45:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.111.184

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KcX2lcn0H7Inzoe5fi2ouv3MVlcvd0OsKQzolGWFTsaA4rrQnCfwzYC5uZeexPObrn9AnhzQXrMUWHWdKVAyN1ukpr65U99atIIXA8Eycm9tDo4a94dUzfJk++/6KWVSRIXhvIKJ6friY/Dy5iQ8OHuy1l1MTZ42hdNXkRv3BSf2C+Q0n5ZOQKm4+
   +7RSwUipAhmDsGdbDdJE2yYl6VbJmjFbDj4ISoo8clk37MTzirxXm+lFkGfgEPm3zFxxOSPI26zUI+P8ZfkTQ/PqP0mYFVPxbx4ellYWfinSM42X3XLqI34bkoRwiwbbs1G6Q8IE1tPeI7uM5qgQlhgVjdAsg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-02-45-24-GMT.mhtml

   Hash (SHA256)
   23282c89a02b5e1884cc656faa73fc4327f05ab2e81aff6c6073935ae22c4a15

   Signature (PKCS#1v1.5)
X7PJ2E6zZLCXK47xnSsf1mz1QW9j6Xl1ya95BwqjM9EsRZXptlIQ4RVXnM0g+rmuHRLRlnvLZbG1i+24bVadiwJRrYUv7STChWKegde+Y9a8QQ3T0PRdSM2erLJ2LKf579Ip1bk70F/4XYQcA+CrK9W1lE5Mr40Wa41klNicw1O8ceSAe9U0LCMrrU7yE1gqe
+bNu16zlLhehjCe9EEDAOvvqR3+CeNvIdOpEB0vhr16eO0j6Zphouhj84FCsUG0HjP1Vz4y4uxmy7g9NAwnQBRoAQliGPzbhUX6bxf2YLn4Bf8Sbp9XezHD4B92j+384SvLHYlT/qK+88N5PBFaRA==
